Case 1:16-cv-02498-RCL Document 45 Filed 04/27/18 Page 1 of 1

FlLED
APR 27 2018

Clerk, U.S. District and
UNITED sTATES DISTRICT COURT Ba"k'"¢“°v C°""S
FOR THE DISTRICT 0F cOLUMBIA

jAYGLENN

PLAINTIFF
V. : No. 16-cV-02498-RCL

THOMAS FAY, ET AL.

DEFENDANTS

0RDER

UPON CONSIDERATION of the Consent Motion/(> Defendant Thomas Fay to Extend

1t1s hereby: 1133 w 3 t
ORDERED that the Motion is granted; and that it is further
ORDERED that Defendant Thomas Fay shall file his Opposition to Plaintiff’ s Application

for An Order of Sequestration and/ or Preliminary Injunction on or before April 20, 2018.

Dated: L?a° l 018 §
Hon. oyce C. Lamberth

United States District ]udge

Copies to:
Counsel for All Parties via ECF

